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EXHIBIT “F”
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TROY LAMONT MOORE,
SR.,

DEPOSITION UPON
ORAL EXAMINATION
Plaintiff,

OF

TROY LAMONT MOORE,
COMMISSIONER LOUIS SR.
GIORLA, MAJOR MARTIN,

C.O. WALDEN, R.N.

MEDICAL NURSE

MCGROGAN,

Defendants.

)
)
)
)
)
- vs - )
)
)
)
)

TRANSCRIPT OF DEPOSITION,
taken by and before ALEXANDRA ALVARADO, !
Professional Reporter and Notary Public, at
the CRIMINAL JUSTICE COURT, 1301 Filbert
Street, Room 1106, Philadelphia, Pennsylvania,
on Monday, January 16, 2015, commencing at
2:15 p.m.

ERSA COURT REPORTERS
30 South 17th Street
United Plaza - Suite 1520
Philadelphia, Pennsylvania 19103
(215) 564-1233

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TROY LAMONT MOORE, SR.

2 4
; APPEARANCES: 1 (By agreement of counsel, the
CITY OF PHILADELPHIA LAW DEPARTMENT ; cette em Tings
3 BY: AARON SHOTLAND, ESQUIRE pr nave been
1515 Arch Street 4 waived; and all objections, except as
4 14th Floor 5 to the form of the question, have been
chee ne t ae one 19102 é reserved until the time of trial.)
7 8 TROY LAMONT MOORE, SR.,
GOLD & FERRANTE, P.C. 9 after having been duly sworn, was examined
a at Old ven nee FERRANTE, ESQUIRE 10 and testified as follows:
9 Suite 516 11
Jenkintown, Pennsylvania 19046 12 BY MR. SHOTLAND:
10 Counsel for Defendant 13° Q. ~~ Mr. Moore, my name is Aaron Shotland. I
; 14 represent some of the defendants in this case.
13 15 Can you hear me okay?
14 16 OY Yes, I can, sir.
15 17). We're going to take your deposition. I'm
i 18 joined with counsel for another defendant,
18 19 Mr. Ferrante, who's going to have some questions for
19 20 you as well. But let me start by asking you, have
20 21 you ever been deposed before?
22s, No, I have not.
23 23. 6Q. Well, this is a deposition and I'm going to
24 24 ask you questions. There's a court reporter here on
3 5
1 INDEX 1 this end that's going to take down all my questions
2 --- 2 and all your answers. So I'm going to give you some
3 WITNESS 3 instructions so that this deposition goes smoothly
4 TROY LAMONT MOORE, SR. 4 and that she can record everything that's said.
5 EXAMINATION PAGE 5 Okay?
6 By: Mr. Shotland 4, 61 6 A Yes, sir.
7 By: Mr, Ferrante 42 7 Q Please try to keep your answers verbal, try
8 8 not to shake your head or nod your head or
9 9 demonstrate anything with your body. Keep all your
10 10 answers verbal. Okay?
11 11 soA Yes, sir.
12 EXHIBITS 12. Q. And wait until I'm finished asking a
13 PAGE PAGE 13 = question before you begin your answer, that way she
14 NUMBER DESCRIPTION MARKED ATTACHED {14 — can write down everything that we both say. Okay?
15 (No exhibits were marked.) 15° 0A Yas, sir.
16 --- 146° Q, If you don't understand a question, let me
17 17 = know and I'll rephrase it so that you do understand
18 18 it. But if you answer a question, I'm going to
19 19 assume that you understood it. Okay?
20 20 A Yes, sir. ,
21 21 Q Have you taken any substances today that
22 22 would prevent you from testifying honestly and
23 23 accurately?
24 24 = AC No.

2 (Pages 2 to 5)

ELECTRONIC REPORTING STENOGRAPHIC AFFILIATES

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TROY LAMONT MOORE , SR.
6 8
1 Q How are you feeling today? 1 @ How long have you been incarcerated at SCI
2 A Good. I would like to, if possible, make a 2 Forest?
3 short statement before we begin. So I'll wait until 3 OA Since April 1st of 2014.
4 you're finished with instructions and then see if 4 Q. Where did you reside prior to SCI Forest?
5 that's allowed. 5 OA. At SCI Graterford.
6 Q, You can say whatever you want. I'm done 6 Q. How long were you at SCI Graterford?
7 instructing you, so go ahead. 7 A. I believe Jess than six months.
8 A, Okay. I just have a short statement. On 8 Q. So you would have arrived there some time
9 1/12/15 I forwarded both defendants' counsel a 9 around October or November of 2013?
10 letter advising it is imperative for a postponement 10 A. Correct.
11 regarding this deposition on 1/16/15 at 2 o'clock at 112° QQ, Where did you reside prior to SCI
12 SCI Forest. 12 ~— Graterford?
13 On 1/12/15 I informed the Unit Manager of 13.—COA.. PICC Prison in Philadelphia.
14 Childs and Counsellor Price the need to contact the 14 °6««Q, When did you begin to reside at PICC?
15 defendants’ counsel by phone. Both parties denied 15 A, I was first incarcerated July 4th of 2012.
16 — me access to contact the defendants’ counsel 16 QQ. And from July 4th, 2012 to sometime in
17 regarding noncompliance with Judge Robreno's motion |17 October or November of 2013 you were at PICC?
18 to compel for the inspection of evidence consisting 18 OA, I'm sorry -- I'm sorry, 2000 -- this is
13 of the video footage, documents, repair reports and 19 '15, last year is '14, '13. I'm sorry, 2013 I
20 medical reports. 20 believe. .
21 On 1/12/15 I submitted inmate requests to 21 Q. So you're saying ‘you got to PICC on July
22 staff member SCI Force Medical Department to obtain 22 = 4th, 2013?
23 those medical records. On 1/13/15 Bob Rumsick (ph), {23 A, Actually, I was arrested then. It takes
24 — medical records supervisor, denied my request to 24 _ several days to get to the prison. So that's the
7 9
1 inspect my medical records. 1 day I was arrested though.
2 In addition, the defendant's counsel, Aaron 2 Q. Some time in July 2013 you began your
3 Shotland, has failed to forward any and all evidence 3 incarceration at PICC; is that fair?
4 for inspection per Judge Robreno's order to compel. 4 A. Correct.
5 At this time I would like to formally 5 Q. The incident that we're here for today,
6 — request the defendants contact Judge Robreno's 6 — that occurred on September 16th, 2013?
7 chambers by phone to ascertain subpoenas for the 7 OA. Correct. 2
8 following things: The video footages, cell repair 8 Q. Did you graduate from high school?
9 reports, medical records and witnesses Childs, 9 OA. Yes, I did.
10 Price, Sara Segal and Bob Rumsick to testify atthe |10 @Q, Where did you attend high school?
11 deposition. Thank you. 11 sOAC I attended high school at Bensalem High
12) Q, Are you finished? 12 ~~ School in Bensalem, PA.
13. OA, Yes. 13° «(Q. What year did you graduate?
14°. Okay. Thank you. 14° COA, 1990.
15 Can you state and spell your name for the 15 Q. Do you have any education beyond high
16 record? 16 school?
17 =A, Troy Lamont Moore, T-R-O-Y, L-A-M-O-N-T, i 17 A, I have an associates degree in business
18 = M-O-O-R-E, S-R. 18 management.
19 Q. What is your date of birth? 19 Q. Where did you obtain your associates
20 A. 8/20/1972. 20 degree? «
21 Q. Where do you currently reside? 21 =A; Ashworth College.
22, OA, At SCI Forest. 22 Q. What year did you obtain your associates
23. Q. Do you know what town that's in? 23 degree? .
24 AW I do not. 24 AY 2006, i

3 (Pages 6 to 9)

ELECTRONIC REPORTING STENOGRAPHIC AFFILIATES

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TROY LAMONT MOORE, SR.

10 12
1 Q. Do you have any education beyond your 1 that correct?
2 associates degree? 2 A That is correct.
3. OA, No. 3. (Q. And you pled guilty to robbery in 2014: is
4 4. Did you have -- do you have any formal 4 that correct?
5 training after 2006, formal education? 5 A, Yes, Sir,
6 A. Some education with Chevrolet. 6 Q. And you're currently serving a 10 to 20
7 Q, What did you do with Chevrolet? 7-year sentence for that conviction?
BOA I was a consultant and sales agent for two BOA. Yes, Sir.
9 major dealerships in Houston. 9 Q. Have you been convicted of any other crimes
10  Q. When was that? 10 that we haven't talked about?
il A 2011 to 2012. il oA, No, just the robbery,
12, Q Are you married? 12. (Q. I want to talk to you to a little bit about
13° COA, No, I am not. 13 your medical history.
14° Q Do you have any children? 14 Do you -- did you have any health issues
15 A Two, 15 prior to September 16th, 2013?
16 Q What was your last employment prior to 16 =A. Yes.
17 being incarcerated? 17. Q What kind of health issues did you suffer
18 A, I was a shift supervisor for an oil 18 from?
19 refinery in North Philadelphia. 19° OA, I have a lower Jumbar disability, which is
20 Q What was -- who was your employer? 20 mainly handled through the VA, Veterans
21 =A Neats Foot Oil Refinery. 21 ~~ Administration. I have CAD, which is coronary
22. Q. Can you spell that? 22 artery disease, which I ém prescribed and take
23, 2A N-E-A-T-S, F-O-O-T, Oil Refinery. 23 Nitrostat Tabs PRN. And also I have PTSD.
24° Q And can you give me your dates of 24° Q. When were you first diagnosed with your
11 13
1 employment at the oil refinery? 1 lower lumbar disability?
2 =A; I believe January of 2013 to July of 2013. 2 A; My best estimation would be '97.
3. Q. You were employed by the oil refinery when 3. QQ. And you've suffered with lower lumbar
4 you were arrested? 4 issues ever since?
5 OA, I just had resigned a week before, 5 A. Correct.
6 Q, I want to talk to you a little bit about 6 Q. When were you first diagnosed with coronary
7 your criminal history. My understanding is you were 7 artery disease?
8 convicted of robbery in 2002 -- 8 OA. I would say '98. ;
9 OA Correct. 9 Q. And have you continued to suffer from
10) «(Q, -- is that correct? 10 coronary artery disease since 1998?
11 OA, Yes. 11 sOA, Yes.
12 Q. How many years did you serve for that 12. Q, When were you ciagnosed with PTSD?
13. conviction? 13.—COASW 2012. :
14° sOA, Nine years, nine months, 26 days, 23 hours, 14° «QQ. Do you know what the PTSD stems from? Is
15 15 minutes, 20 seconds. 15 st from a certain incident?
16° Q. When were you released? 16 OA, Yes,
17 OA, I was released -- actually, I left the 17° (4. What happened?.
18 state system on prerelease in 2011. 18 OA. Actually, it's an a:sault that happened
19° Q. Where did you serve the majority of your 19 while I was in the military.
20 time for the 2002 conviction? 2006 (Q, How long were you in the military?
21 AC At SCI Rockview, 21 A, From 1990 to 1993.
22. Q. How long did you spend at Rockview? 22. 0]. And you were diagnosed with PTSD in 2012.
23) =OAC Roughly seven and a half years. 23° Was there any kind of incident that triggered from
24.6. And you were arrested again in 2013; is 24 the PTSD from the prior Army assault?

4 (Pages 10 to 13)

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TROY LAMONT MOORE, SR.

14 16
1 oA Actually, I was -- I was checked into a 1 get the officer on duty to open the door so I could
2 mental institution -- 2 get out of that situation and to no avail basically.
3. Qa. Was that in 2012? 3.6. Let me back up a little bit, It was not
4 A -- slash hospital. That was in 2012, 4 — the toilet in your cell that overflowed, it was the
5 Q. And what did they tell you at the hospital? 5 toilet in the cell across from you; is that correct?
6 OA, They went over my history, and at that time 6 A No. No. No. It was the toilet in my
7 they diagnosed me with PTSD. 7 cell. I was sitting across the room from the
8 Q Has somebody told you that PTSD stems from 8 toilet. :
9 the assault in the Army when you were enlisted? 9 @Q. Can you describe your cell as far as the
10 =A, In the marine corp, yes, 10 size of it?
1 Q. I'm sorry, the marine corp. 11 A, T think basically most cells are about the
12 Who told you that? 12 same, eight and a haifyveet by -- eight and a half
13. COA, A doctor at the hospital I was -- I was at. 13 by 13. So I'm sitting of) the opposite side of the
14° Q., What hospital did you treat at? 14 room from the toilet.
5 A, That was -- I can't remember the hospital's 15 I just want to add that the burst out of
16 name offhand, but it is in my medical records. 16 the toilet was so violent there was defecation four
17. = Q, Do you have a copy of your medical records 17 feet high on the walls so...
18 from that hospitalization? 18 Q, What do you you mean by defecation?
19° OA, To my understanding, we are not, as 19 OA Human waste, solid human waste.
20 inmates, allowed to possess medical records while 20 = Q, You were sitting on your footlocker near
21 we're incarcerated. 21 the door to the cell; is that correct?
22. Q. I'm asking you whether you have access to 22 =A, That is correct. ©
23 those records or not? 23 QQ. And the toilet is on the other side of the
24 AL I don't have access to them, but they're 24 ~~ cell? *
1s 17
1 here because the institution actually sent it to the 1 oA Correct. Not long ways, short ways.
2 _haspital to acquire those records. 2 Q. Did you have a roommate or a celly at the
3. Q. Understood. 3 time? .
4 Let's talk about the September 16th, 2013 4 0A I did at the time.: His name is
5 incident. Can you describe that incident in your 5 Mr. Bassamy.
6 — own words? 6 Q. Can you spell that?
7 OA Would you like me to go from start to end? 7 A He was actually -- B-A-S-S-A-M-Y, first
8 Q. Weil, let's start with -- my understanding 8 name Gabriel. ‘
9 is there was an overflowing toilet in your cell; is 9 Q. And this is cell number 18; is that
10 that correct? 10 correct?
11 OA, That is correct. 11 sOA, That is correct,
12. Q. What caused the overflowing toilet in your 12) QQ. And it was in the G2 unit at PICC?
13 cell? 13 6A That is correct.
14, OAS T have absolutely no idea what caused it, 14° Q. Was Mr. Bassamy in the cell when the toilet
15 Basically that evening, approximately 23:15 hours, I 15 exploded?
16 was sitting on a footlocker about to take off my 16 sOA, Yes, he was. He also was contaminated with
17 shoes and get prepared for bed. Across the room 17 raw sewage. He was actually about to climb the
18 from the toilet, the water in-the toilet absolutely 18 — ladder to get on the top bunk. So we were pretty
19 exploded covering me in raw sewage. 19 — much in the same proximity.
20 My first instinct was to get to the sink to 20 Q, Mr. Bassamy was not using the toilet at the
21 wash it out of my eyes and my mouth. At that timeI | 21 time; is that correct?
22 also went through distress due to irregularities in 22, =A, No. No one was using the toilet.
23 my heart beat, chest pains, shortness of breath. 23. QQ. Did you look at the toilet at any point in
24 Basically I banged on the door as long as I could to 24 the day prior to this incident?

5 (Pages 14 to 17)

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18 20
1 6A Yes, the toilet was working fine all day. 1 fike she couldn't hear me.
2 Q. Did you observe anything in the toilet? 2 At that point, beciiuse I was in distress, I
3° 4OA I'm sorry? 3 had to actually lay down and try to calm myself down
4 Q Did you observe anything in the toilet that 4 because of the chest pains. At that point my celly,
5 _was obstructing the toilet? 5 Mr. Bassamy, continued to bang on the door to no
6 OA No, not at all. 6 avail. The door was not opened, but she did let the
7 Q. So as you sit here today -- 7 block worker out to clean and make sure that raw
® A. also would like to add -- 8 — sewage didn't spread.
9 Q. As you sit here today you have no idea why 9 And also the cell next to ours, she allowed
10 the toilet expioded? 10 those inmates to evacuate their cell, clean their
11 OA, No, Ido not. But I'd also like to add 11 cell and lock them back in, but we weren't allowed
12 that the cell directly next to ours overflowed also 12 to,
13. that same night. Throughout the night the toilet in 13°06, When you say the block worker, I'm a little
14 my cell overflowed approximately every 10 minutes 14 confused as to who that is. Is that someone from a
15 throughout the night until that next morning when 1S different cell than yours?
16 they brought emergency maintenance people on the 16 0=OAY That is correct. He was on the same tier
17 block. 17 as me. His job on the block was to sweep, mop,
18 Q. The first time it overflowed was about 18 clean showers during the: day. So he's, I guess you
19 41:15 p.m.; is that correct? 19 would say, kind of like a ‘trustee for the block,
20 A, Yes, sir. 20 He's a long-term incarcerated inmate in the county.
21 Q. And it continued to overflow throughout the 2i QQ And you said that he was mopping the area
22 night; that's your testimony? 22 all night long?
23 OA, Yes, sir. 23) OAS That is correct.
24° QQ What time in the morning did -- you said 24° Q, What time did hestart mopping?
19 . 21
1 repairmen came out to repair the toilet; is that 1 A. Approximately 10 minutes after the toilet
2 right? 2 exploded, She went down, she unlocked his door, he
3) OAS I'm sorry, one repairman came in the 3 came out and got the equipment and basically
4 — morning. Our doors were actually opened at -- I 4 squeegeed and mopped raw sewage into the drain
5 believe at around 7 -- 07:30. 5 system. And he did that all night to my knowledge.
6 But I'd also like to add that because of 6 Q. At some point did you request medical
7 the constant overflowing all night, the correctional 7 attention? ;
8 officer, her name was Walden, she actually allowed 8 OA I asked Officer Walden -- at that point I
9 an inmate, a block worker, to come out of his cell. 9 was banging on the door letting her know that I
10 — She posted him outside of my cell door all night 10 needed medical attention. I was totally ignored.
11 just to mop so the raw sewage wouldn't go acrossthe [11 She never even spoke to me.
12 tier into other cells. 12. QQ. Do you know Officer Walden's first name?
13° Q, Who was that inmate? 130 OA, No, I do not. I'm assuming -- I believe we
14, OAC I don't have his name. 14 had a difference in opinian as far as when we met
15 Q. What time were you let out of your cell the 15 fast time with the judge aS to how to find Officer
16 =~ next morning? 16 Walden. I believe that ail officers are required to
17,—OA.. I believe it was approximately 7:30. 17 log in and out. So on that day during the overnight
18° Q, Between the hours of 11:15 p.m. and 7:30 18 — graveyard shift that's the only person who was
19 a.m. the next day did you speak to any PICC 19 there. .
20 employees other than Correctional Officer Walden? 20 Q. What time did yo.) request medical attention
21 sOA«; No. The only person that I had contact 21 for the first time?
22 with is Correctional Officer Walden. I continued to 22) OAS Right away,
23 bang on the door for the first hour after the 23. Q. So around 11:30?
24 incident happened. She continued to walk by and act | 24 A. Yes.

6 (Pages 18 to 21)

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TROY LAMONT MOORE, SR.

22 24
i Q, Did you write up a sick call request at 1 concur with that.
2 some point? 2 Q When did you start experiencing shortness
3. OA. T actually did -- I believe over the next 3 of breath? :
4 — week I probably submitted six or seven sick call 4 A. During the incident.
5 requests, After the last one I was told by a 5 QQ How soon after the incident did you have
6 — doctor, who normally does sick calls, that my sick 6 shortness of breath?
7 call request would no longer be accepted. 7 OA, I would say when the chest pain started.
8 Q. What doctor was that? 8 Q When did the chest pain start?
9 OA, IT have no idea of what her last name is. I 9 OA Pretty much right &fter the incident
10 believe she is of Indian decent. 10 happened while I was at the sink.
120. Well, I'm looking at the attachments to 11 QQ. So maybe a few minutes afterwards, a few
12 your complaint. It looks like this sick call 12 hours afterwards?
13 request that I'm looking at is labeled Exhibit 2A, 13, OA, A few minutes.
14 Do you have a copy of your complaint there? 14°. It also -- the sick call request also says
15 OA, Not in front of me. 15 that you were throwing up. When did you throw up?
16°06 Q, Do you recall making a sick call request, 16 A, I threw up in the cell. And also I have
17 and this one is dated September 17th, 2013? It says | 17 periods of throwing up, vomiting days following.
18 ~~ medical problem, be specific, you wrote shortness of 18 QQ. When did you stop throwing up?
19 breath, throwing up, diarrhea, rash, facial and arms 19 OA. It wasn't more than maybe four days.
20 due to exposure of raw sewage for several hours. 20 Q. You were throwing up for four days?
21 Is that familiar to you? 21 A, Not constantly. Periods, yes.
22, OA, Yes, sir. 22. Q. So this incident heppened on the night of
23. Q. Do you recall writing up that sick call 23 the i6th. Is it your testimony that you threw up on
24 request? 24 the 16th, the night of the 16th, the 17th, the 18th
23 25
1 A, Yes, sir, 1 and the 19th?
2 Q. The date on it, it has a 9, a dash and then 2 OA, That is correct, sir.
3 something written and scribbled out and then a 17 3. When did you start.experiencing diarrhea?
4 — written over whatever was scribbled out. 4 0A 1 would say the night -- the night -- the
5 Do you know what was written prior to it 5 evening of the 17th. :
6 being scribbled out and 17 being placed above it? 6 Q. How long did you have diarrhea?
7 A To my knowledge there shouldn't be anything 7 OA I believe two days.
8 scribbled on it. 8 Q. And you also said that you had a rash. Can
9 QQ. Okay. The date on it with the correction, 9 you tell me about the rash?
10 _ whatever it was, is 9/17/2013. Is that the date 10° =A; I had patches of rashes from my scalp alt
11 that you wrote this sick call request and submitted 11 the way down my body, which the medical department
12 it? 12 examined.
13. COA I believe so, that would be the day after, 13, QQ. Now, you kind of just said that you had
14° «6Q. What time of day did you submit -- write it 14 rashes covering your body. Was that your entire
15 and submit it? 15 body?
16 «OA, I'm not sure what time of day it was. 16 OA. Not the entire body, but in patches, yes.
17) Could you tell me whether it was the 17 From my scalp all the way down including athlete's
18 — morning, the afternoon, the evening? 18 feet (sic), rash on my feet,
19° OA, I cannot give you a specific -- when it 19° Q, Did the -- did this iricident cause you to
20 was. 20 have athlete's foot? Is that your understanding?
21 QQ. That sick call request was your first sick 21 A.W I would say yes because I didn't have any
22 call request that you prepared after this incident; 22 foot fungus prior to this incident. My best
23 is that correct? 23 assumption would be from actually standing in an
24 «AC It happened on the 16th, yes, I would 24 inch of raw sewage Is probably what caused that, not

7 (Pages 22 to 25)

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TROY LAMONT MOORE, SR.

26 28
1 to mention, I was soaked in it. 2 Q. So if T understand you correctly, between
2 Q. There was one inch of raw sewage in your | 2 September 17th, 2013 and November -- November 7th,
3 cell? i; 3 2013 you did not see a médical professional at PICC?
4 AW Exactly. What happens is, those cells -- 4A. No, I did see a medical professional. It
= the layout of those cells, they're slanted. So if 5 just wasn't in the medicat department. From filling
6 — something overflows, the cell actually fills up 6 out the sick call slips they would call me over to
7 about an inch before gravity will push anything out 7 the mini triage which is right outside the block,
8 under the door. So it was about maybe an inch of 8 In those sessions describing the fungus on
9 raw sewage on the floor, which I was ordered to 9 my feet, the rashes, the stomach problems, the
10 clean up the day after with no protective gear. 10 violent vomiting, the severe headaches for I would
11. QQ. Did you follow that order and clean it up? 11 say probably weeks, they treated me for those
12) SOA, I did. 1 followed that order, I actually 12 things. .
13 cleaned the cell before they allowed me to take a 13 For the fungus they gave me fungal cream.
14 shower to get the raw sewage clothes off of me. 14 For the violent vomiting they gave me antacids for
15 After that I was allowed to proceed to medical, 15 — my stomach. For the chronic headaches they gave me
16° « Q, What time did you proceed to medical? 16 aspirin. Actually I saw someone, but it just wasn't
17.°—OA, I would assume it would be around 9 17 in the medical department.
18 o'clock. 18 °6Q. Was the person you saw at the medical
19 QQ. 9 a.m. on September 17th you went to 19 triage, was that a nurse?
20  ~=medical? 20 A, I believe she was a doctor.
21 OA. That is correct, sir, 21 Q. You saw a medical doctor?
22 Q. Can you tell me about your treatment at 22, A, This is the same -- I'm sorry. This is the
23 medical? 23 same person that told me my sick call requests would
24 OA, Okay. I proceeded to medical. Once I got 24 no longer be honored,
27 5 29
1 there I let them know that I was in distress. I had 1 Q. Do you know who that person is?
2 chest pains, shortness of breath. I sat in the 2 A. I do not know her name. She is of Indian
3. waiting room. 3 decent.
4 Approximately 15 minutes later I was called 4 Q, And your understanding is that that's a
5 to the next corridor where one of the defendants’ 5 medical doctor?
6 nurse, RN McGrogan, came over to me. I explained to 6 A. Yes.
7 her that Thad CAD. At that point I requested a 7 Q Did you receive any diagnoses from the
8 Nitrostat Tab. She then proceeded to put a finger 8 doctor or the nurse that you saw?
9 — monitor on my finger and walked away from me. 9 OA. No, I did not, other than just saying that
10 Approximately two minutes passed by, she 10 these are minor problems.
11 came down, she took the finger monitor off. I asked 11 Q, I'm going to move, onto your grievances, Do
12 her again for a Nitrostat Tab and her exact words 12 you have a copy of your grievances that you filed?
13 were, you're wasting my time. And she ordered me 13° OA, Not in front of me,
14 back to the block. 14. I'm looking at Exhibit Number 1 from your
15 Q. Did you receive any other treatment while 15 complaint. Attached is a grievance. The grievance
16 you were at medical other than what you just 16 is dated, September 17th. 2013.
17 ~~ described? 17 Do you recall submitting a grievance on
18 A. Absolutely none. 18 = September 17th, 2013?
19 Q. Did you return to medical at any point? 19 OA, Yes, sir. .
20 =A. The only time I went back to medical was 20) «64. Just to summarize. the grievance, it appears
21 right before I was béing transferred upstate and 21 to be involving the overfiwing toilet in your cell,
22 that was for checking out purposes. 22 — And you mentioned shortness of breath, vomiting,
23. Q. When were you transferred upstate? 23 diarrhea, rash as a result of the overflowing
24 0A; I believe November 11th of 2013. 24 toilet.

8 (Pages 26 to 29)

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30 32
i Are you familiar with that grievance? 1 be appealed in order to be reviewed by the
2 As Yes, sir, 2 superintendant at the next grievance level seeing
3. Q, Was that the first grievance you submitted 3 that the initial grievance was not reviewed bya
4 following this incident? 4 board. 4
5 A. Yes, sir. 5 A. Okay. I believe ih the rules and
6 Q. Is this grievance grieving any particular 6 regulations of filing grievances, the grievance is
7 ~~ employee at PICC? 7 supposed to be submitted to a board. That was not
8 A, You're asking me if it's grieving any 8 done. Also I asked for a procedural amendment so
39 particular person? 9 this doesn't happen again.
10 @Q, Yes, 10 There is absolutely nothing in place at
11 soAS IT don't have the grievance in front of me. 11 that level at PICC to ensure that other inmates
12.) Q. Do you recall who this grievance was 12 don't have to go through this.
13 directed at, if anybody? 13... Where Is your procedural amendment? Is
14° COA, T would venture to say that the issue 14 there a procedure proposed?
15 started with CO Walden. 15 A, No, I do -- what ° was looking for was to
16 QQ. T'll represent to you that Correctional 16 come up with some common ground to submit a
17 Officer Walden is not mentioned in this grievance. 17 procedural amendment,
18 Nowhere in this grievance does her name appear. 18 Q, You never got to the stage of actually
19°C, Okay. 13° submitting one; is that correct?
20 Q. Do you recall writing a grievance with 20 A. No, at every level the grievances were
21 Correctional Officer Walden's name? 21 brushed off as -- there was no action taken.
22) AY I believe I did. I just don't know which 22° QQ, There's a few parties in this lawsuit, and
23 one. 23 I'm going to talk to you about them in a little bit.
24° Q. I'm going to move onto the next page of the | 24 You have sued Commissioner Giorla.
31 33
1 Exhibit 1. It appears to be another grievance that 1 Can you tell me about your interaction with
2 you filed. It's dated October 4th, 2013. 2 Commissioner Giorla, if there was one?
3 Can you explain to me why you submitted the 3. C«OAdé«W! Okay. After all three grievance levels
4 second grievance? It talks about how the first 4 —_were pursued per the rules and regulations of
5 grievance wasn't remedied. So can you explain that? 5 submitting grievances ir; this process, I personally
6 A, Actually there was -- they never even 6 — spoke to Commissioner Giorla about the situation.
7 answered the first grievance. There was no 7 Absolutely no action was taken.
8 response. 8 Q. When did you speak with Commissioner
9 Q. Okay. This second grievance dated October 9 Giorla? -
10 4th, 2013, did you file this because you did not get 10 ~—OA I believe three or, four days after the
11 a response to your first grievance? 11 incident occurred. He was actually at PICC and I
12, OA Would you care to read the grievance to me? 12 spoke to him candidly. If need be, I quess it can
13. Q. Sure. I declare or certify, verify or 13. -- the video can be retrieved because it was in shot
14 state under the penalty of perjury under the laws of 14 ~~ of acamera, So...
15 the United States of America that the foregoing is 15 Q. Where did you speak with Mr. -- or
16 true and correct. This is in reference to a 16 Commissioner Giorla?
17 previous grievance filed. The grievance was 17, OA. On the G2 block.
18 reviewed by Major Martin and only partially 186 «Q. What time was it when you spoke with him?
19 remedied. 19 OA, I would say approximately 10:00 or 11:00 in
20 Part 1 of the action, requested medical 20 the morning, a.m.
21 needs was initiated. However, part 2, action 21 QQ. And it was either on September 19th or
22 requested procedural amendment to ensure no 22 September 20th; is that correct?
23 reoccurrence was inadequately addressed. I'm 23 OA, I believe so. ‘
24 formally requesting that this continuation grievance 24 Q. What did you say to Commissioner Giorla?

9 (Pages 30 to 33)

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1 A IT explained the entire situation that had 1 @Q. Was he in uniform?

2 happened. I also explained that I had submitted 2 A. No, he was not.

3 grievances trying to get some resolution, His 3. 6Q, T want to talk to vou about Major Martin.

4 response to the whole conversation was that his 4 — Can you tell me your int¢raction with Major Martin?

5 officers are to handle things at their level, 5A. Basically at the sécond level of the

6 = meaning it's not his concern. 6 grievance system I was called to Major Martin's

7 Q What did you ask Commissioner Giorla to do? 7 office. To my understanding, she serves on the

B OAS To look into the situation and hopefully 8 grievance board at that level,

9 find a remedy. 9 Once the correctional officer picked me up
10). Did you propose a remedy to Commissioner 10 from the block and escorted me to her office I went
11 Giorla? 11 inside. She asked me what the situation was. I
12, =A, No, I did not. 12 explained to her in great detail about the cell
130 «Q, What exactly were you looking for him to 13 overflowing, the toilet overflowing, not being able
14 ~~ do? 14 to get medical attention that night until the next
15) OA, To actually put something in place where 15 morning, where I still didn't get medical attention,
16 this type of incident doesn't have to happen again. 16 the medical issues that were going on.

17 For one, he already stated that his guards are to 17 She, at that point, ordered the guard that
18 handle it at their leisure at that level. 18 escorted me to go and remove the tape and preserve
19 My whole thing is, just when they had the 19 the tape. She said she would look into things. I
20 meeting in Major Martin's office, the first thing 20 never heard anything else at that level from her.
21 she did when she found out about the Situation, she | 21 QQ, When did you spéak with Major Martin?
22 ordered one of her guards to pull the videotape 22, AY T don't recall what day it was.
23 immediately. Okay. 23. Q, Do you know how many days after this
24 Her first instinct was to let me know that 24 _ incident you spoke with Major Martin?
35 , 37

1 at that time of night, after 23:00 hours the quard 1 A, It may have been two to three weeks

2 can't open doors for anyone. But the video footage 2 afterwards.

3 obviously will contradict that. Because not one, 3. Q. You first spoke with Major Martin two to

4 but two cells were open for cleaning purposes. 4 three weeks after this incident?

5 So everyone is given the same runaround 5A. I believe so.

6 here. And IJ looked towards Commissioner Giorla to 6 Q, So you spoke with Commissioner Giorla prior

7 rectify this situation so this type of thing doesn't 7 to speaking with Major Martin?

8 happen anymore. And he basically brushed it off. 8B OA, That is correct.

9 Q What does Commissioner Giorla look like? 9 Q. You had a meeting with Major Martin in her
10 =A, He's quite heavyset. He's shorter than me. 10 ~~ office?

11 I'm 6'3" and three-quarters. So he's approximately | 11 A. That is correct.

12 -- I would say 5'9”, very heavyset man. 12. Q. Where is her office?

13° (Q, How old is he? 13. =O. I couldn't give you a floor plan. I don't

14° =O, IT would venture to say in his late 40s, 14 _ -- that's my first time in PICC. So all I know is

15 early 50s. 15 how to get to the block, but I was escorted, so...
16 QQ. What color is his hair? 16 (Q. Is Major Martin's office in PICC?

17, That I don't remember. 17_—OA, Yes, it is. :

18° (Q, Does he wear glasses? 18° Q. You didn't have ta go outside to get there?
19° OA. At that time I don't remember him having 19 OA, No.

20 glasses on, 20 Q.. You said that Major Martin told you she was
21 Q, What was he wearing when you spoke with 21 going to pull the video?

22 him? 22, =OAY She instructed the, escorting officer to

23. OA He was wearing a button up shirt, dress 23 immediately pull and preserve the video.

24 © shirt and slacks. 24° Q. When you are referring to a video, what

10 (Pages 34 to 37)

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38:

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1 video camera are you talking about? 1 Correctional Officer Walden?
2 A The video camera that is on G2 unit. 2 A, She's an African American woman. I would
3. Q How many video cameras are on G2? 3 put her taller than Major Martin, So she's probably
4 A I'm not sure, 4 about 5'9", 5°10". Probably early to mid 50s.
5 Q Did you see a video camera on G2? 5 She's a little bit older, Very thin build.
6 A Yes, 6 Q. Whois Larry Rocriguez?
7 Q How many video cameras did you see? 7 OA. Larry Rodriguez is another inmate who was
8 OA I know of one. There's definitely one. 8 incarcerated at the same time I was on G2, He
9 0. Where is the one that you know of? Where 9 actually -- several inmates actually witnessed the
10 is that located on G2? 10 overflowing of the raw sewage coming from my cell
ll, The front half of the block. 11 out onto the tier.
12) Q, So there's one video camera on the front 12 His cell was in proximity where he could
13 half of the block that faces down the hallway of the 13 see the front door of my cell. That is why I
14 cells; is that correct? 14 ascertained an affidavit from him.
15 A, It actually faces the front of the cells 15) Q. Do you know what cell number he was in?
16 excluding the corridor, which is at the back of the 16 OA, Not cell number, I can't recall the
17 block. So the video footage would absolutely, 17 number. ,
18 definitely show that I was banging on the door, that 18 Q. But you said he was across from you?
19 other inmates were let out, that my cell was i9 OA. Actually, it's on the upper tier. It's the
20 overflowing all night, which is why it's imperative 20 last cell, which would be the closest to the CO's
21 that I examine that evidence. 21° desk upstairs. So his -- |
22. Q. I think you referenced that you requested 22 Q. Could he see inside your cell?
23 the video be preserved. When did you make a request |23 A, Inside, I wouldn't say that, no. He could
24 _ that the video be preserved? . 24 see -- he can see my window and he can see the
39 ‘ 4l
1 sA. That -- at that meeting with Major Martin. 1 bottom of the door. But.as far as visual, inside
2 Q. Was that requested in writing? 2 the cell, I wouldn't think 60.
3.C«OAdé«;W! No, it was not. 3. Q. Did you talk to Mr. Rodriguez before he
4 Q. Do you have a copy of any requests you made 4 prepared this affidavit? -
5 to preserve the video of this incident? 5A. 1 believe the only thing that I said to him
6 OA. Absolutely not. It was verbal fram me to 6 — was I would like to asceriain an affidavit from you,
7 her and it was verbal from her to her CO. 7 if you could write down exactly what you saw and
8 Q. What does Major Martin look like? 8 what time it was, and that's what he did.
9 OA. She's an African American woman. I would 9 Q. You didn't give Mr, Rodriguez any
10 probably say in her late 40s, early 50s. Her office 10 information before he prepared this affidavit?
il is very small. It's actually crowded by a desk that 11 COA I don't believe S0..
12 probably takes up most of the office. 12° Q, Is Mr. Rodriguez «: friend of yours?
13° («@. Can you describe her build? 30 COAY No. I had probably known him -- at that
14 °=OA;Y She is shorter than me. I would probably 14 point I had probably known him maybe two weeks.
15 say maybe 5'5, 5'6".. Medium build. She's not 15 Q. Is there a reason you asked Mr. Rodriguez
16 ~——heavyset and she's not thin. 16 to prepare an affidavit as opposed to someone else?
17. Q. I don't think you mentioned with 17) OA. Because of the position of his cell.
18 = Commissioner Giorla, what race is he? 18 Q. Because he was above your cell?
19° OA. He's Caucasian. 19° OA, Because he could see the front of my cell
20 Q. Correctional Officer Walden, you talked 20 ~~ from his cell.
21 already about when you came into contact with that 21 @q. Who is Rodney Johnson?
22 officer. Is she a female officer? 22, OAS He's another gentleman who was incarcerated
23) =OAddw Yes, she is. 23 at the same time. He was living on G2 with me. His
24° QQ. Can you give me a physical description of 24 cell is actually on the lower tier across from my

11 (Pages 38 to 41)

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1 scell. 1 oA, Yes, which I objected to.
2 MR, SHOTLAND: The other attorney 2 Q. And although you knew we were going to take
3 who is here might have a couple questions 3 it, you chose not to bring the copies of your
4 for you. I might have a couple after he's 4 grievances or a copy of your complaint?
5 done. Thank you for your time and I'll fet 5 OA, I wasn't instructeé to bring those things.
6 him go. 6 Q. Well, you weren't instructed to bring what
7 THE WITNESS: Okay. Thank you. 7 you've brought with you today, you still brought
8 BY MR. FERRANTE: 8 them.
9 Q. Good afternoon, Mr. Moore. My name is 9 A, Correct.
10 Alexander -- 10) QQ. Did you -- do you have any personal notes
11 oA, Good afternoon. How are you, sir? 11 at all about what took place on September 16th or
12) @. I'm fine. Can you hear me okay? 12. the 17th?
13 A. Actually, I can barely hear you. Hold on 13. OA, Personal notes?
14 one second. 14° «Q. Yes. Did you take down any notes, write
15 Q. Mr, Moore, my name is Alexander Ferrante. 15 anything down on paper?
16 I represent Nurse McGrogan and I have a few 16 =A, No. ‘
17° questions for you. 17) Keep a diary at all?
18 What are all those documents you have in 18 OAC No, all I have is my original complaint.
19 front of you? 19° Q, Let's talk about the night of September
20 =A, Actually, I have a presentation for the 20 16th. You said you were near the footlocker --
21 opening statement I gave. I also have some legal 21 _ sitting on the footlocker, there was an explosion,
22 — documentation, case law as to what can be done and | 22 stuff comes all out of the toilet. 1 want to start
23 what can't be done. And then I have several 23 from that moment. Okay?
24 documents as far as what's been filed and what 24 0A, Yes, Sir.
43 45
1 hasn't. And also things from the medical department 1 Q. When did it sto coming out of the toilet?
2 and denying me access to contact both counsel for 2 = Az It didn't because it continuously
3 the defendant. 3 overflowed. Every 10 minutes it would overflow.
4 @. Did you bring with you your complaint? 4 Q That leads me to believe at one point it
5 A. No, I did not, 5 has to stop in order for it to continue?
6 Q, What legal documents did you bring then? 6 OA, That is correct.
7 OA. The ones I just described to you. 7 Q. So when did it first stop?
8 Q. You haven't described any to me. 8 OAS It overflowed for approximately 15 to 20
9 What legal documents are sitting in front 9 seconds and then it would stop.
10 of you? 10 Q, Now, during that first time, that 15 or 20
11 OA. Okay. I have the order from the judge 11° seconds when it overflowed you were near your
12 granting a motion to compel. 12 footlocker?
13 Q, Excuse me, Mr. Moore -- 13° =COA« Correct. “
14, OAL I have a notice of -- 14° «Q, Now, after it stopped, did you clean
15° Q Mr. Moore, let's go back to that. Go back 15 yourself up?
16 to that order. What's the date of that? 16 OA, The only thing I did was I washed the raw
17, OAL Third day of December, 2013. 17 sewage out of my face,
18 Q, What else do you have? 16 Q. Did you wash ycur hands?
19 OA, I have notice of deposition from you. I 19 OA. I rinsed my hands,
20 also have the video conference order. I have the 20 Q, Did you change clothing?
21 first scheduling order and also the pretrial 21 A, No, I did not.
22 conference and hearing on my motion to the judge. 22. Q. Well, it's September, it’s in the prison,
23. Q, So you knew we were going to take your 23 were you just wearing ‘jour boxers?
24 — deposition today? 24 A, Actuaily, I was aoout to get undressed for

12 (Pages 42 to 45)

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46 48
1 bed. I was sitting on the footlocker taking off my 1 and needed medical attention.
2 shoes when the toilet exploded. And at that time I 2 Q. After that didn't work, why didn't you just
3 only had one set of prison uniform and one pair of 3 stay in the bed?
4 sheets. Might I add, I had to sleep on those soiled 4 A. I did. .
5 sheets for two days before I could get them changed. 5 Q. So was there only one time you left the bed
& Q. Now, since you saw that the footlocker -- 6 to go over to the cell door and try to get her
7 I'm sorry, since you saw that the toilet exploded, I 7 attention? ,
8 — would imagine you kept your shoes on? 8 A. Once that incident happened I banged at the
9 OA, Actually I did. 9 door. The banging lasted about maybe 45 minutes to
10) QQ, Now, did you keep them on for the rest of 10 no avail. After that I sat on my bunk in the bed
11 the evening until the early morning? 11 covered in raw sewage, yes.
12 A, No, I did not because the raw sewage had 12.) Q. So we're talking about a time period from
13 seeped down into the shoes, 23° 11:15 to about 7:30 in the morning, correct?
14° «Q. Well, we talked about the first incident, 14° OAC That is correct.
15 there was a 15 second burst, it stopped. When did 15 QQ. During that entire time there was a period
16 the next one happen? 16 ~~ of 10 to 15 minutes that you tried to get someone's
17 OA Approximately 10 minutes later. 17 attention? :
18° «QQ. How long did that last? 18 OA, I'm sorry, can you repeat the question?
19) OA About the same length in time, but granted 19 (Q. Well, from 11:15 to 7:30 you told us that
20 — when other toilets would flush on the upper tier, 20 you were sitting on the bed except for about 10 to
21 our toilet would overflow in between those intervals 21 15 minutes where you were trying to get someone's
22 of 10 minutes. 22 attention at the door?
23° Q. So did you put anything over the toilet to 23) COC That's incorrect.
24 stop it from overflowing? 24 (Q. What's incorrect about it?
47 49
1 A. Absolutely not, 1 A I stated that for 45 minutes I tried to get
2 Q. Did you put anything into the toilet to try 2 her attention at the docr, After that time I sat in
3 to clog it up? 3 my bunk. The toilet overflowed every 10 minutes.
4A. Absolutely not. 4 Q. How leng were you at the door total trying
5 Q. Now, how many inches off the floor is the 5 to get her attention?
6 first bunk bed? 6 OAL I was at the door for about 45 minutes and
7 OA I would estimate maybe a foot and a half, 7 then my cellmate, Mr. Eassamy, took over.
8 two feet, 8 Q. Mr. Moore, what, medications are you on
9 Q. So if Someone is sitting on the first bunk 9 today? .
10 bed you wouldn't be in the raw sewage? 10) OA, I'm on an aspirin a day for my heart. Iam
llsoA, That's correct. You wouldn't be in the raw 11 on Nitrostat Tabs, which is Nitroglycerin, which is
12. sewage. 12 PRN for my CAD and ra also on Risperdal.
13° 6«Q. Is there a reason why you didn't stay on 13° Q Are you on Zantac at all?
14 the bed? 14 OA, No,
5 oA. Once the incident happened I was actually 15° Q What was the Zantac for?
16 covered in sewage. So me laying down in bed, which 116 A Zantac?
17‘ T eventually did being in distress, I was still 17. —Q. Yes,
18 covered in raw sewage. 18 A. When was that administered?
19 Q, That's not my question. 19 Q. Well, that was administered as soon as you
20 Why wouldn't you just stay in bed so your 20 got to the prison in July of 2013 and it continued.
21° feet wouldn't be in it? 21 sA, Do you know what that medication is for?
22, AY The reason for that is because I was 22. Q. It's a mental heelth medication. Do you
23 banging on the door trying to get CO Walden's 23 have a mental health problem?
24 attention to open the door because I was in distress 24 A, Ido, Ihave PTSD. That medication was

13 (Pages 46 to 49)

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i probably given -- it's just my assumption that the 1 go to medical, so they sent you down.
2 medication was given until I actually got to my 2 Were you having an emergency? That's a yes
3 jail. They did a reassessment, and I'm on Risperdal 3 or no question.
4 now. I'm also on 90, 600 milligram Motrin per month 4 A. I will answer it like this --
5 for back issues. 5 @Q. T want an answer yes or no and then you can
6 Q. Mr. Moore, let's talk about that evening, 6 explain your answer.
7 Before we get there, the mental hospital that you 7 OA. T was ordered to medical, yes.
8 were in in 2012, do you remember the name of that? 8 QQ. Now, when you got down to medical were your
9 OA, Now I do, It was Cypress Hill (sic) and $9 vital signs taken?
10 that is in Houston, Texas. 10) OA. A finger monitor was placed on my finger.
11 Q. Now, you went down to medical -- I think 11 QQ. Let me ask you again. Do you know what
12 you said around 9:00 a.m, that morning on the 17th? |12 vital signs are, Mr. Moore?
13 COA, I believe so. 13° —OA I'm not a medical professional, so when you
14° =, Had you taken a shower yet? 14 say vital signs, I don't know what you're talking
15 A, They allowed me to take a shower before I 15 about. ‘
16 ~~ went to medical. 16 QQ, As you sit here today, being in the
17 Q. So you were able to get cleaned up? 17 hospitalizations you've had in the past, you don't
18 oA. Correct. 18 know what vital signs arc, that’s what you're
19 Q. Did they give you a new uniform? 19 telling the jury? .
20) =A, Yes, they did. 20 =A, Are you talking about heart rate, blood
21 6 Q, Now, did you walk down to medical? 21 pressure -- blood pressure wasn't taken. No medical
22) AY Yes, I did. 22 attention was given besides a finger monitor.
23. Q. So at 9:00 a.m. you were able to walk on 23 That's what I'm telling you.
24 your own without having any problems? 24 Q. Would taking your blood pressure have been
51 53
1 A. Correct. I would also like to add that 1 a good thing or a bad thing?
2 without submitting proper work to go to sick call 2 0A It would have been a good thing if it was
3 down in medical, there's only a limited amount of 3 administered.
4 reasons that they would allow you to go directly 4° Q. Well, your blood pressure was 110 over 80
5 from the block to medical without the paperwork. 5 that day. It was taken that morning by
6 One being in distress, another bleeding 6 = Ms. McGrogan,
7 from an altercation, heart attack, stroke, only 7 Did you know that?
8 those types of emergencies are allowed to be 8 OA; If that's what the finger monitor does, I
9 processed directly from the block to medical. 9 would guess that that's what it does.
10 QQ. Now, in an emergency situation you would be {| 10 Q. Do you know what your oxygen rate was? Do
11 escorted -- a prisoner is escorted to medical; isn't 11° you know what oxygenation is?
12 that true? 12, OAC I absolutely do not.
13. OA, I don't know what their procedure is. 136, Your pulse oxygenation rate was 97 on room
14° = Q. Do you think this was an emergency 14 air. I'm letting you know, that so you can look it
15 _ situation? 15 up when you go back to your cell to try to find out
16 sO. Well, I was in distress and I do have a 16 what that meant. Because I think right now you have
17 history of heart problems. 17 no idea what these medical records show what they
18 Q. Well, that wasn’t my question. 18 did for you that day.
19 Did you think this was an emergency 19 What's your respiration? Do you know what
20 situation? 20 ‘your respiration rate was?
21 sA, Yes. Obviously if they allowed me to go to 21 sAS No, I do not.
22 ~~ medical. 22. (Q. What about your pulse rate?
23. 6Q, No. No. I want your opinion right now. 23) —sOA. Well, I do know wat a pulse is. It's
24 You went to medical because you wanted to 24

amazing to me that you ean tell all these things

14 (Pages 50 to 53)

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1 from a finger monitor. Because that's all the 1 call slip every day.
2 entire medical visit consisted of. 2 Well, do you remember going back?
3. Q. When you got down to medical they did an 3. OA. T never went back to the medical
4 exam on you and they found no shortness of breath. 4 department. I went to the triage, which is right
5 Do you know what shortness of breath is? 5 out of the block.
6 OA, Absolutely I do. 6 Q. When was the next time you had any type of
7 Q, Were you having shortness of breath at 9:00 7 medical treatment? *
8 or 9:30 a.m.? / BOA, T believe the following day.
9 A. Twas, | 9 Q. — And who treated you then?
10 6Q, Were you having a rash at 9:00 or 9:30 a.m. | 10 A, The doctor on duty.
11 that morning? 11° Q. By that time was your cell cleaned?
12, OA, At -- that morning the rash hadn't started 612 0A Yes, I was ordered to clean the cell before
13 yet. '13° I could even go to medical that day.
14° Q. Were you complaining of chest pain at 9:00 14° QQ, So it had been cleaned by the time you left
15 to 9:30 in the morning? 15 at 9 o'clock?
16) OA, I was, 16 OA, That is correct. _
17° QQ. Can you explain how you can have chest 17.) OQ, Any trouble cleaning the cell?
18 pain, but have a normal oxygen rate and a normal 18 A, Just basically exposing myself further to
19 pulse rate? 19 the raw sewage with no protective gear. To my
20 AY No, I cannot. 20 understanding, that prison officials are supposed to
21 Q. Were you vomiting that morning in the 21 have designated HAZMAT people to clean up bodily
22 medical department? 22 fluids, which did not happen.
23. OA Not in the medical department, no. The 23. (Q. But you had no trouble physically cleaning?
24 visit was very short. {24 A Sure there was trouble.
55 57
1 Q. So in the medical department there was no 1 Q. Did you have a mop?
2 vomiting going on? No diarrhea? 2 A No, I did it on my: hands and knees.
3°COA«W No, I did not vomit. 3.40, What about your roommate, did he do it on
4 Q. Any diarrhea in the medical department? 4 his hands and knees too?
5 A. Not in the medical department, no. 5 OA. No. At 7:30, when they cracked the doors
6 Q. Any complaints of headaches in the medical 6 to let us out, he was summoned on a path to
7 ~~ department? 7 somewhere. So I had tc do everything myself.
8 OA Yes, I did tell her about the headaches, 8 Q. Now, the next day you had some medical
9 And I also explained it was probably breathing the 9 treatment. And do you remember having your vital
10 raw sewage for over eight hours. 10 signs taken that day?
11 I do have a question. How can -- how is it 11_sOA, No, I do not remember per se.
12 possible to determine oxygen in the blood with a 12.) Q. You were compleining that your stomach was
13° finger monitor? 13 upset.
144° «QQ. In your complaint you fist a bunch of 14. =O, Okay. :
15 things that -- a bunch of your injuries. It's on 15 Does that refresh your memory at all?
16 page 3. 16 A, I believe my stomach was upset at that
17 Do you realize that headaches was not one 17 point.
18 of the things that you complained about? 18 «QQ. They asked you if you have shortness of
19° OA. It may not have been. I also have 19 breath and you said no --
20 — something to add. If the headaches or the vomiting, 20 =A, The following day you're talking about?
21 stomach problems weren't there, why was the medical | 21 Q. Yes.
22 department prescribing medication to treat it? 22) =A You're talking abcut the 18th?
23. QQ. When did you go back to medical? 23. 6Q, I'm talking about the 18th. That's the
24 COA I was basically going -- dropping a sick 24 following day; isn't it?

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1 A, It is the following day. 1 6A Correct.
2. Q. And you weren't complaining of shortness of 2 Q, She didn't think medical care, other than
3. breath then? 3 what she did, was necessary. You have a difference
4A, Okay. If that's what it says, that's what 4 of opinion?
5 it says. 5 OA Correct.
6 Q. Don't you remember -- you have no memory of 6 Q. And what's the basis of your difference?
7 the following day what your symptoms were? ; 7 What more was it that you wanted her to do?
8 OA You're asking -- what you're doing is BOA For one, she was informed by me that I take
9 you're asking me to remember something from a year 9 Nitroglycerin. That was denied,
10 and a half ago to today. Is that what you're 10 = Q, Well, you had no shortness of breath. She
11 asking? 11 thought medically you didn't need it. There was no
12.6 Q., I'm asking what symptoms in this traumatic 12 complaints of chest pains. There was no shortness
13 event in your fife you were having the next day? 13. of breath. Your oxygenation was normal. Your pulse
14 OA Okay. I was having stomach problems. I 14 rate was normal. You blood pressure was normal.
15 was still vomiting. I was having diarrhea and 15 OA, That's absolutely incorrect because I
16 severe headaches. 16 informed her of the chest pains. And like I stated
17), You weren't having chest pains, you weren't 17 for the record before, the only thing that was done
18 having shortness of breath? 18 by Nurse McGrogan while I was at medical was a
19 OA No. The next day, which was the 17th, 19 finger monitor. Now if you can monitor --
20 which would be the day before, chest pains subsided 20 6«Q. What else did you want her to do?
21 that afternoon even though I was denied the 2i oA. Administer medication that I'm allowed to
22 Nitroglycerin. 22 have.
23 (Q. The chest pain subsided on the afternoon of 23. 6Q, So you wanted medication? That's what
24 ~~ September 17th? 24 you -- '
59 61
1 sAz 17th, correct. 1 6A, Correct. .
2 Q. When did you have any other medical 2 Q. I thought you came down there to be
3 treatment for any other reason -- for any reason by 3 examined and to be checied out to see what medical
4 any provider? 4 needs you had? Or did you just go down looking for
5 A. I was seen several days in a row for the 5 medication?
6 athlete's foot, for the rashes. I was prescribed 6 A. As I stated before, I informed the block
7 the antifungal cream, I was given Motrin for the 7 officer that morning that I was having chest pains.
8 headaches. I was given antacids for the stomach 8 That's the only way that you can get off of the
9 problems for several days after until I was informed 9 block and considered an emergency.
10 by the doctor -- my sick call request would no 10 (Q. Thank you.
11 longer be accepted. 11 oA, Thank you.
12. Q, You had a sick call and you were seen on 12 MR. FERRANTE: J don't have any
13 September 23rd for your feet. You had another sick | 13 other questions for you.
14 call and you were seen on March 23rd. You were 14° BY MR. SHOTLAND:
15 discharged from this prison to Graterford on 15 Q, Mr. Moore, just very briefly, was there
16 November -- it looks like November 13th. 16 soap in your cell?
17 Does that correspond with your memory? 17) OA, I'm not sure whether there was soap in the
18 OA, Pretty much, 18 cell or not.
19 Q, What is it you wanted Nurse McGrogan todo [19 Q. You don't know whether there was soap in
20 for you that morning? 20 your cell? ,
21s. It's what she didn't do. She didn't 21S Yeah, because some days -- when soap is
22 provide me any medical care. 22 handed out, some days you may go through a period of
23 (Q. So you wanted her to provide you with 23 two or three days without any soap before you get
24 ~~ medical care? That's what you wanted? 24

your renewal. h

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1 Q. And you don't remember whether there was 1 CERTIFICATION
2 soap in your cell? 2
3. A. I don't remember. 3
4 Q. But there was a sink in your cell? 4 T, ALEXANDRA ALVARADO, Court
5 A, That is correct, 5 Reporter, certify that the foregoing
6 Q. And after the toilet overflowed for the 6 Is a true and accurate transcript of
7 first time, you went to the sink and you washed 7 the foregoing depésition, that the
8 If off as best as you could? 8 witness was first sworn by me at the
yourse@ est as you c 9 time, place and on the date herein
9 OA T splashed water in my eyes and in my mouth LO before set forth.
10 to get the raw sewage out of my face area. 11 I further certify that Iam
11 Q. Was there anything stopping you from 12 neither attorney nor counsel for, not
12 cleaning yourself off at the sink? 13 related to nor employed by any of the
13 OA, The raw sewage that was spurting out of the 114 parties to the action in which this
14 toilet. The -- let me just give you an idea that -- 15 deposition was taken; further, that I
15 the sink sits over top of the toilet. 16 am not a relative or employee of any
16  Q. The sink is directly over top of the 17 attorney or counsel employed in this
17 toilet? 18 case, nor am I financially interested
18 OA, Not directly. It’s in the proximity over 50 in this action.
19 the toilet. 21 :
20 Q. And at times you said the toilet was Alexandra Alvarado
21 overflowing every 10 minutes, but within those 10 22 Court Reporter
22 minute periods it was not overflowing, correct? and Notary Public
23 OA Some there weren't, some there were. Like 23 Dated:
24 I said, when the cells above me would flush their 24
63
1 toilet within that 10 minute interval, our toilet
2 would overflow again.
3 MR. SHOTLAND: Thank you,
4 Mr. Moore. That's all I have.
5 (Witness excused.)
6 (Deposition concluded at
7 3:44 p.m.)
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